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                   Exhibit 19ZZA
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                   DECLARATION OF DR. MARK KOHLBECK, CPA


    I am Dr. Mark Kohlbeck, an associate professor of accounting and the director of the
accounting Ph.D. program at Florida Atlantic University in Boca Raton, Florida. I have a BBA
in Accounting from the University of Wisconsin - Whitewater, an MBA from Southern
Methodist University, and a PhD from the University of Texas at Austin. I have over ten years
of consulting and auditing experience with Deloitte & Touche and over ten years of academic
experience at the University of Wisconsin - Madison and Florida Atlantic University. I am also
a CPA, licensed in the State of Wisconsin.


   1. Preparation of financial statements follow one of three acceptable basis of accounting-
      accrual, cash, and modified-cash.

   2. Generally accepted accounting principles (GAAP) is based on accrual basis of accounting
      and is required to be used by SEC registrants (firms with publicly traded stock or debt).
      Privately-held firms use a basis of accounting that its managers determine most
      appropriate.

   3. Preparation of financial statements under all basis of accounting are based on information
      available at the time of preparation. Previously issued financial statements are only
      subsequently restated to correct errors.

   4. Recognition of revenue and expenses under the cash-basis of accounting are based on
      when cash is received and paid, respectively.

   5. Revenue under the accrual-basis of accounting (GAAP) is defined as an inflow of net
      assets from delivering or producing goods, rendering services, and other activities that
      constitute the entity's major ongoing operations (Concepts Statement No, 6, ¶78).

   6. Recognition of revenue and expenses under the accrual-basis of accounting (GAAP) is
      based on the revenue recognition principle and the expense recognition principle. The
      revenue recognition principle requires the revenue to be both earned and realizable to be
      recognized (Concepts Statement No, 5, ¶83) . The expense recognition principle requires
      expenses to be recognized as 1) the consumption of benefits during a period either
      directly or indirectly related it to revenue, and 2) the loss or lack of future benefit
      (Concepts Statement No, 5, ¶85-87).

   7. Matching is not the expense recognition principle under GAAP. That is, matching is not a
      part of the conceptual framework underlying the foundation for GAAP. However, the
      idea of matching is similar to one part of the expense recognition principle.

   8. In older financial accounting textbooks (e.g., Kieso, Weygandt & Warfield, Intermediate
      Accounting 10th Ed.), the idea of matching was commonly stated as an accounting

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           principle. Over a decade ago, the profession's thinking evolved and concluded that
           matching is not an accounting principle. More recent editions of financial accounting
           textbooks (e.g., Kieso, Weygandt & Warfield, Intermediate Accounting 14th Ed.)
           emphasize the conceptual framework as a foundation and do not indicate matching as an
           accounting principle.


      9. In certain situations, the expense recognition principle for accrual-basis of accounting
         (GAAP) defers the recognition of certain expenses so that the expense is recognized in
         the same period as the revenue. Resulting financial statements may therefore show
         spikes in revenue, expenses, and profits.


      10. Moving revenue properly recognized in one period under accrual-basis of accounting
          (GAAP) to another period (for example, in an effort to smooth earnings) is a form of
          earnings management and is considered unacceptable for financial reporting purposes by
          the accounting profession.


      11. The accounting for construction contracts under accrual-basis of accounting (GAAP)
          depends on a number of factors (FASB ASC §605-35). 1 The percentage of completion
          method of accounting is used for long-term contracts where management can estimate the
          remaining costs to complete the contract. Long-term is generally thought of as longer
          than one year. Under this method, revenue recognition is partially accelerated and
          expenses are recognized as incurred. The completed contract method is used for short-
          term contracts (e.g., duration less than one year) and long-term contracts where
          management is unable to estimate remaining costs to complete the contract. Under this
          method, recognition of construction costs are deferred until the contract is complete at
          which time all revenue and costs of construction are recognized. The completed contract
          method results in spikes in revenue, expenses, and profits. Under both methods, any loss
          is recognized immediately.


      12. The accounting for agricultural operations (crops) under accrual-basis of accounting
          (GAAP) differs in that direct and indirect costs of growing crops shall be accumulated
          and deferred until the crop is harvested and sold (FASB ASC §905-330). This approach
          results in spikes in revenue, expenses, and profits.


      13. The accounting for professional service firms with contingency fees under accrual-basis
          of accounting (GAAP) is a function of the contingent nature of the potential fee awards.
          Revenue is this case is considered a gain contingency and is not recognized until the gain


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    The Accounting Standard Codification (ASC) was created by FASB as a complete collection of U.S. GAAP.

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                                   Curriculum Vitae
                               Mark Kohlbeck, PhD CPA

 Office Address                                           Home Address
 Florida Atlantic University
 School of Accounting
 777 Glades Avenue                                        9457 Worswick Court
 Boca Raton, FL 33431-0991                                Wellington, FL 33414
 (561) 297-1363                                           (561) 333-8757
 mkohlbec@fau.edu

 Education
 Ph.D. in Accounting, The University of Texas at Austin
    Dissertation: Evidence of Franchise Value in the Banking Industry
 M.B.A., Southern Methodist University
 B.B.A. in Accounting, University of Wisconsin – Whitewater, summa cum laude

 Teaching
 Interests: Financial accounting and reporting

 Courses Taught at Florida Atlantic University:
    Advanced Accounting Theory (Graduate, 2011-2012)
    Scientific Method in Business (Doctoral Seminar, 2012)
    Financial Reporting Research (Doctoral Seminar, 2006 - 2011)
    Capital Markets Research in Accounting (Doctoral Seminar, 2011)
    Advanced Financial Reporting and Accounting Concepts (Graduate, 2007 - 2011)
    Global Insurance Accounting (Undergraduate/Graduate, 2009 - 2010)
    Financial Reporting and Accounting Concepts (Graduate, 2006 - 2007)
    Intermediate Accounting Theory 3 (Undergraduate, 2006 - 2007)
    Advanced Accounting 2 (Graduate, 2005)

 Courses Taught at University of Wisconsin - Madison:
    Empirical Research in Financial Reporting (Doctoral Seminar, 2004)
    Advanced Empirical Research in Financial Reporting (Doctoral Seminar, 2002)
    Financial Reporting 2 (Undergraduate, 2002 - 2005)
    Financial Reporting 1 (Undergraduate, 1999 - 2002)

 Research
 Interests:
     Accounting disclosures
     Accounting choice
     Informativeness of financial statement information
     Banking regulation and financial institutions
     Audit Markets
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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

 Publications:
    E. Gordon, A. Greiner, M. Kohlbeck, S. Lin, and H. Skiafe. 2013. Challenges and
        Opportunities in Cross-Country Accounting Research. forthcoming Accounting
        Horizons 27 (1).
    Kohlbeck, M, S. Krische, N. Mangold, and S. Ryan. 2012. Financial Market Regulation
       and Opportunities for Accounting Research. Accounting Horizons 26 (3): 563-581.
    Kohlbeck, M. 2011. Investor Valuations of Suppliers’ Major Customer Disclosures.
       Advances in Accounting, incorporating Advances in International Accounting 27
       (2): 278-285.
    Cao, J., and M. Kohlbeck. 2011. Analyst Quality, Optimistic Bias, and Reactions to
       Major News. Journal of Accounting, Auditing, and Finance 26 (3): 502-526.
    Dunn, K., M. Kohlbeck, and B. Mayhew. 2011. The Impact of the Big4 Consolidation
       on Audit Market Share Equality. Auditing: A Journal of Practice & Theory 30
       (1): 49-73
    Kohlbeck, M., and T. Warfield. 2010. Accounting Standard Attributes and Accounting
        Quality: Discussion and Analysis. Research in Accounting Regulation 22: 59-70.
    Kohlbeck, M. and B. Mayhew. 2010. Valuation of Firms That Disclose Related Party
       Transactions. Journal of Accounting and Public Policy 29: 115-137.
    Gosman, M, and M. Kohlbeck. 2009. Effects of the Existence and Identity of Major
       Customers on Supplier Profitability: Is Wal-Mart Different? Journal of Management
       Accounting Research 21: 179-201.
    Dunn, K., M. Kohlbeck, and M. Magilke. 2009. Future Profitability, Operating Cash
       Flows, and Market Valuations Associated with Offshoring Arrangements of
       Technology Jobs. Journal of Information Systems 23 (Fall): 25-47
    Kohlbeck, M., J. Cohen, and L. Holder-Webb. 2009. Auditing Intangible Assets and
       Evaluating Fair Market Value – The Case of Reacquired Franchise Rights. Issues in
       Accounting Education 24 (February): 45-61.
    Kohlbeck, M. 2009. Auditing Fair Values. BNA Tax and Accounting Portfolio 5403
       (Accounting Policy and Practice Series).
    Kohlbeck, M., B. Mayhew, P. Murphy, and M. Wilkins. 2008. Competition of
       Andersen’s Clients. Contemporary Accounting Research 25 (Winter): 1099-1136.
    Chen, C., M. Kohlbeck, and T. Warfield. 2008. Timeliness of Impairment Recognition:
       Evidence from the Initial Adoption of SFAS 142. Advances in Accounting 24:72-81.
    Smith, P., and M. Kohlbeck. 2008. Accounting for Derivatives and Hedging
       Activities: Comparison of Cash Flow versus Fair Value Hedge Accounting. Issues
       in Accounting Education 23 (February): 103-117.
    Kohlbeck, M. and T. Warfield. 2007. The Role of Unrecorded Intangible Assets in
       the Valuation of Abnormal Earnings. Accounting Horizons 21 (March): 23-41.




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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

    Gosman, M. and M. Kohlbeck. 2007. The Relationship Between Wal-Mart’s
       Inventory Cutbacks in 2006 and Suppliers’ Sales Trends. Commercial Lending
       Review (Sep/Oct): 19-26, 47-48.
    Gujarathi, M. and M. Kohlbeck. 2007. Reliance Corporation - Inventory Write-downs
       and Reversals., Issues in Accounting Education 22 (August): 503-514.
    Kohlbeck, M. 2006. Accounting for Investments in Debt Securities. BNA Tax and
       Accounting Portfolio 5106 (Accounting Policy and Practice Series).
    Holder-Webb, L. and M. Kohlbeck. 2006. The Hole in the Doughnut: Accounting for
       Intangible Assets at Krispy Kreme. Issues in Accounting Education 21 (August):
       297-312.
    Kohlbeck, M. 2005. Reporting Earnings at Summer Technology - A Capstone Case
       Involving Intermediate Accounting Topics. Issues in Accounting Education 20
       (May): 195-212.
    Gosman, M. and M. Kohlbeck. 2005. The Relationship Between Supply-Chain
       Economies and Large Retailers’ Working Capital. Commercial Lending Review
       20 (January-February): 9-14, 51-52.
    Kohlbeck, M. 2004. Investor Valuations and Measuring Bank Intangible Assets.
       Journal of Accounting, Auditing, and Finance 19 (Winter): 29-60.
    Hodder, L., M. Kohlbeck, and M. McAnally. 2002. Accounting Choices and Risk
       Management: The Case of SFAS 115 and U.S. Bank Holding Companies.
       Contemporary Accounting Research 19 (Summer): 225-270.
    Buchheit, S. and M. Kohlbeck. 2002. Have Earnings Announcements Lost
       Information Content? Journal of Accounting, Auditing and Finance 17 (Spring):
       137-153.
 Working Papers:
    Cao, J., H. Hsieh, and M. Kohlbeck. Executive Succession and Post-Restructuring
       Performance Improvement and Financial Reporting Quality
    Dunn, K., M. Kohlbeck, and T. Smith. Bargain Purchase Gains and the Acquisitions
       of Failed Banks.
    Dunn, K., M. Kohlbeck, and B. Mayhew. Does Audit Market Equality Affect Audit
       Fees?
    Greiner, A., M. Kohlbeck, and T. Smith. An Examination of Real Earnings
       Management and Audit Fees
    Hao, L., and M. Kohlbeck. The Market Impact of Mandatory Interactive Data:
       Evidence from Bank Regulatory XBRL Filing.
    Kohlbeck, M., V. Lookanan-Brown, and J. Trainor. Did the SOX Ban on Non-audit
       Services Go Far Enough or Too Far? Evidence on Investors’ Perceptions of Auditor
       Independence
 Refereed Proceedings:



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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

    An Examination of Real Earnings Management and Audit Fees, American
       Accounting Association Auditing Section Midyear Meeting (2013); American
       Accounting Association Annual Meeting (2012)
    The Market Impact of Mandatory Interactive Data: Evidence from Bank Regulatory
       XBRL Filing. American Accounting Association Annual Meeting (2012)
    Bargain Purchase Gains and the Acquisitions of Failed Banks, American Accounting
       Association Financial Accounting and Reporting Section Midyear Meeting (2012)
    Does Audit Market Equality Affect Audit Fees? American Accounting Association
       Annual Meeting (2011)
    Analyst Quality, Optimistic Bias, and Reactions to Major News, American Accounting
       Association Annual Meeting (2009)
    Competition of Andersen’s Clients, Contemporary Accounting Research Conference
      (2006), American Accounting Association Annual Meeting (2006), American
      Accounting Association Southeast Annual Meeting (2006)
    The Hole in the Doughnut: Accounting for Intangible Assets at Krispy Kreme,
       American Accounting Association Annual Meeting (2006)
    Wal-Mart’s Effect on its Suppliers, American Accounting Association Southeast
      Annual Meeting (2006)
    Reliance Corporation - Inventory Write-downs and Reversals, American Accounting
       Association Northeast Annual Meeting (2006)
    The Demand for Private Company Audits: Evidence from Private Commercial Banks,
       American Accounting Association Annual Meeting (2005)
    The Economic Consequences of Principles-Based Accounting Standards, University
       of Oklahoma Accounting Research Conference (2005), American Accounting
       Association Annual Meeting Forum paper (2005)
    Agency Costs, Contracting and Related Party Transactions, American Accounting
       Association Financial Accounting and Reporting Section Midyear Meeting (2005)
    Evidence of the Goodwill Impairment Valuation Effects from the Initial Adoption of
       SFAS 142, American Accounting Association Midwest Annual Meeting (2004),
       American Accounting Association Annual Meeting Forum paper (2004)
    Reduction of Security Mispricing Through the Use of Quarterly Conference Calls
       American Accounting Association Annual Meeting (2003)
    The Impact of Conference Calls on the Information Content of Earnings
       Announcements. American Accounting Association Western Annual Meeting
       (2003)
    The Role of Unrecorded Intangible Assets in the Valuation of Abnormal Earnings,
       American Accounting Association Midwest Annual Meeting (2002)
    Have Earnings Announcements Lost Information Content? American Accounting
       Association Annual Meeting Forum paper (2001), American Accounting
       Association Southwest Annual Meeting (2000)


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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

     Investor Valuations and Measuring Bank Intangible Assets, American Accounting
        Association Annual Meeting (2000)
    Accounting Choices and Risk Management: The Case of SFAS 115 and U.S. Bank
       Holding Companies, American Accounting Association Annual Meeting (2000)
    Evidence on the Effect of SFAS 115 on Bank Investment Decisions, American
       Accounting Association Annual Meeting Forum paper (1999)
 Presentations:
    An Examination of Real Earnings Management and Audit Fees, Florida Atlantic
       University (2012)
    Bargain Purchase Gains and the Acquisitions of Failed Banks, University of
       Wisconsin – Milwaukee (2012), South Florida Accounting Research Conference
       (2011)
    Does Audit Market Equality Affect Audit Fees? Florida Atlantic University (2011)
    Did the SOX Ban on Non-audit Services Go Far Enough? Evidence on Investors’
       Perceptions of Auditor Independence, Florida Atlantic University (2009)
    Analyst Quality, Optimistic Bias, and Reactions to Major News, Florida International
       University (2008)
    An Analysis of Recent Events on the Perceived Reliability of Fair Value Amounts in the
       Banking Industry, Florida Atlantic University (2007)
    The Association of Future Profitability, Operating Cash Flows, and Market Assessments
       with Offshoring Arrangements, Florida Atlantic University (2007)
    Agency Costs, Contracting and Related Party Transactions, presented at University of
       Wisconsin (2004), Florida Atlantic University (2004), and University of
       Kentucky (2004)
    The Demand for Private Company Audits: Evidence from Private Commercial Banks,
       presented at University of Arkansas (2004)
    The Economic Consequences of Principles-Based Accounting Standards, presented at
       University of British Columbia (2004)
    Evidence of the Goodwill Impairment Valuation Effects from the Initial Adoption of
       SFAS 142, presented at University of Wisconsin (2004)
    The Role of Unrecorded Intangible Assets in the Valuation of Abnormal Earnings, presented
        at University of Wisconsin (2001)
    Impact of Strategy on Firm Valuation, presented at Summer Brown Bag Series
       sponsored by the Accounting Departments at University of Wisconsin (2001)
    Accounting Choices and Risk Management: The Case of SFAS 115 and U.S. Bank
       Holding Companies, presented at University of Wisconsin (2000)
    Investor Valuations and Measuring Bank Intangible Assets, presented at American
       Accounting Association Annual Meeting (2000) and workshops at Florida State
       University, Southern Methodist University, University of Arizona, University of


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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

        Florida, University of Illinois, University of Iowa, University of Texas and
        University of Wisconsin (1999)
    Evidence on the Effect of SFAS 115 on Bank Investment Decisions, presented at the
       University of Texas (1996)

 Teaching and Research Positions
 2009 – Present        Associate Professor, School of Accounting, Florida Atlantic
                          University
 2005 – 2009           Assistant Professor, School of Accounting, Florida Atlantic University
 1999 – 2005           Assistant Professor, Accounting & Information Systems, School of
                          Business, University of Wisconsin - Madison
 1994 – 1999           Graduate teaching and research assistant, Department of Accounting,
                          The University of Texas at Austin
 1995 – 1996           Assistant Instructor, Department of Accounting, The University of
                          Texas at Austin
 1988                  Adjunct Faculty, Department of Accounting, Southern Methodist
                          University
 Service
 Doctoral Program Activities:
    Director of Accounting Ph.D. Program, School of Accounting, Florida Atlantic
       University (2010-2012)
    Dissertation Committees:
        Yun Cheng, committee chair
        Phebe Culler-Davis, committee member
        Adam Greiner, committee chair (placed at University of Denver)
        Lizhong Hao, committee chair (placed at California State University – Fresno)
        Jomo Sankara, committee chair (An Examination of Real Earnings Management
           and Audit Fees, placed at Illinois State University)
        Errol Stewart, committee chair (An Examination of Real Earnings Management
            and Audit Fees, placed at Georgia Southern University)
        Joseph Trainor, committee chair (date filed – August 2011, placed at St. John’s
            University)
        Veena Lookanan-Brown, committee member (date filed – August 2011.m placed at
           University of Wisconsin – Milwaukee)
        John Incardona, committee chair (date filed - August 2010, placed at Zayed
           University)
        Ivy Huang, committee member (date filed - August 2011, placed at Queens College)


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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

        Ron Premuroso, committee co-chair (date filed - August 2008, placed at University
           of Montana)
        Robert Houmes, committee member (date filed – September 2007, placed at
           University of North Florida)
        Matthew Magilke, committee co-chair (date filed – June 2004, placed at
           University of Utah)
        Changling Chen, committee member (date filed – June 2004, placed at University
           of Waterloo)
        Jay Park, committee member (date filed – June 2004, placed at University of
            Seoul)
        Gerhard Barone, committee member (date filed – August 2002, placed at
           University of Texas - Austin)
    QRP Advisor, Adam Greiner (2011), Yun Cheng (2011), Lizhong Hao (2010), Errol
      Stewart (2009), Joe Trainor (2008), John Incardona (2007)
    Ph.D. Committee, College of Business, Florida Atlantic University (2010-2012)
    Ph.D. Committee, School of Accounting, Florida Atlantic University (2005-2012)
    Ph.D. Committee, Accounting Department, University of Wisconsin (2000-2002)
    Member of oral examination committees (2002-2012)
    Writing preliminary exam questions (2003-2012)
    Grading preliminary exams (2000-2012)
 Discussant Activities:
    American Accounting Association Annual Meeting – moderator for Research Events
      Panel on Market Regulation and Opportunities for Accounting Research (2011)
    American Accounting Association Annual Meeting – one paper in concurrent session
      on fair values, one paper on auditor resignations (2010)
    Financial Accounting and Reporting Section Mid-year Meeting – one paper on the
       financial crisis (2010)
    American Accounting Association Annual Meeting – one paper in concurrent session
      on fair values (2009)
    Chinese Accounting Professors of North America Annual Meeting, Bejiing – one
       paper on asset securitization, one paper in poster session on fair values (2009)
    American Accounting Association Annual Meeting – two papers in concurrent
      sessions on audit firm quality and on accounting history (2008)
    South Florida Accounting Research Conference – two papers on financial reporting
       topics (2008)
    American Accounting Association Annual Meeting – paper in concurrent session on
      internal control and enterprise risk management (2007)


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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

    American Accounting Association Annual Meeting – three papers in concurrent
      session on consequences of accounting standards (2006)
    American Accounting Association Southeast Annual Meeting – moderator /
      discussant for three papers in concurrent session on GAAP and the conceptual
      framework (2006)
    American Accounting Association Annual Meeting – moderator for FASB / IASB /
      SEC Financial Reporting Update (2005)
    American Accounting Association Annual Meeting – 3 papers in concurrent session
      on the value relevance of accounting numbers (2004)
    American Accounting Association Annual Meeting – 3 papers in concurrent session
      on valuation of intangible assets (2002)
 Referee Activities:
    Editorial Board, Issues in Accounting Education (2008-2010, 2013)
    The Accounting Review
    Contemporary Accounting Research
    Contemporary Accounting Research Conference
    Journal of Accounting, Auditing, and Finance
    Journal of Accounting and Public Policy
    Journal of Business, Finance, and Accounting
    Auditing: A Journal of Practice and Theory
    Accounting Horizons
    Research on Accounting Regulation
    International Journal of Accounting, Auditing, and Performance Evaluation
    International Journal of Auditing
    International Journal of Hospitality Management
    Issues in Accounting Education
    European Accounting Review
    ABACUS
    Corporate Governance: An International Review
    Advances in Accounting
    The Financial Review
    Managerial Finance
    Journal of Business Research
    Global Finance Journal



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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

    American Accounting Association Annual Meeting (Financial Accounting and
      Reporting Section, Auditing Section, Teaching, Learning, and Curriculum
      Section)
    Financial Accounting and Reporting Section of the American Accounting Association
       Mid-year Meeting
    Auditing Section of the American Accounting Association Mid-year Meeting
    Chinese Accounting Professors of North America Annual Meeting
    GRFI (Research Grants Council of Hong Kong)
    American Accounting Association Midwest Annual Meeting
    American Accounting Association Southeast Annual Meeting
 Professional Committee Activities:
    FARS Steering Board (2012)
    Innovation in Auditing Education Award Selection Committee, Auditing Section of
       the American Accounting Association (2011-2012, chair 2012)
    Outstanding Educator Award Committee, American Accounting Association (2012)
    FARS Midyear Meeting Track Coordinator (2010-2011)
    Research Events Team of the AAA Annual Program Committee, American
       Accounting Association (2010-2011)
    Notable Contributions and Distinguished Contributions to Accounting Literature
       Award Screening Committee, American Accounting Association (2009-2010)
    Notable Contributions to Accounting Literature Award Screening Committee,
       American Accounting Association (2003-2004, 2007-2009), chair (2008-2009)
    Financial Reporting Policy Committee, Financial Accounting and Reporting Section
       of the American Accounting Association (2007-2009)
    Educational Research Award & Hall of Honors Committee, Teaching, Learning and
       Curriculum Section of the American Accounting Association (2008-2009)
    Nominating Committee, Financial Accounting and Reporting Section of the
      American Accounting Association (2007)
    Southeast Regional Meeting Coordinator, Financial Accounting and Reporting
       Section of the American Accounting Association (2006-2007)
    Deloitte Wildman Award Committee, American Accounting Association (2006-2007)
    Outstanding Accounting Education Research Award Committee, Teaching &
       Curriculum Section, American Accounting Association (2006)
    Midwest Regional Meeting Coordinator, Financial Accounting and Reporting Section
       of the American Accounting Association (2004-2005)
    Midwest Regional Meeting Best Paper Award (2005)
    Midwest Regional Meeting Best Student Paper Award (2005)


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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

    Trueblood Committee, American Accounting Association (2004-2005)
    Seminal Contributions to Accounting Literature Award Screening Committee,
       American Accounting Association (2003-2004)
 University Committee Activities:
    FAU University Faculty Senate Athletics Committee (2011-2012)
    FAU Athletics Advisory Board, including Finance Subcommittee (2011-2012)
    FAU Excellence in Graduate Mentoring Award Committee (2012)
    COB Research Advocacy Committee, Florida Atlantic University (2008-2012)
    COB Scholar of the Year Committee, Florida Atlantic University (2011-2012)
    Scholars Committee, School of Accounting, Florida Atlantic University (2007-2012)
    Curriculum Committee, School of Accounting, Florida Atlantic University (2012)
    Financial Accounting Sub-committee, School of Accounting, Florida Atlantic
       University (2005-2012)
    Recruiting Committee, School of Accounting, Florida Atlantic University (2006-
       2011), chair (2007-2011)
    Journals Committee, School of Accounting, Florida Atlantic University (2006-2009),
       chair (2007-2009)
    Graduate Curriculum Committee, School of Accounting, Florida Atlantic University
       (2005-2007)
    COB Stewart Professorship Committee (2007)
    Ad hoc Committee for Staffing and Scheduling of MAC Courses, School of
       Accounting, Florida Atlantic University (2005)
    Undergraduate Curriculum Committee, School of Business, University of Wisconsin
       (2004-2005, 2002-2003)
    Undergraduate Appeals Committee, School of Business, University of Wisconsin
       (2004-2005, 2002-2003)
    Research Committee, School of Business, University of Wisconsin (2003-2004)
    Teaching Committee, School of Business, University of Wisconsin (2000-2002)
 Other Activities:
    South Florida Accounting Research Conference, co-coordinator (2007-2012)
    Faculty Adviser, Accounting Student Associates, Florida Atlantic University (2007-
       2009)
    Undergraduate Appeals, School of Accounting, Florida Atlantic University (2006-
       2009)
    Participant, COB Research Day, Florida Atlantic University (April 5, 2007)
    Participant, Faculty Academic Showcase, Florida Atlantic University (April 25, 2007)


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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

    ACG 2021 co-chair, School of Accounting, Florida Atlantic University (2006)
    Research Workshop Coordinator, School of Accounting, Florida Atlantic University
       (2005-2007)
    Syllabi for Financial Reporting 2 (undergraduate) and Empirical Research in
        Financial Reporting (doctoral) accepted for inclusion in the American Accounting
        Association Financial Accounting and Reporting Section’s Syllabus Project
        (2005)
    Faculty advisor, Deloitte & Touche Trueblood Case Competition (November 2004)
    Faculty participant, SuperSOAR, a diversity program connecting students with the
       University of Wisconsin prior to their arrival on campus (June 2004)
    Invited participant, Improving Corporate Governance in Commercial Banks – a
        Freedom Support Project for Russia – a round table of select faculty and a
        Russian banking delegation (December 2002)

 Professional Positions
 Deloitte & Touche, Dallas, Texas
    Management Consulting; attained Senior Manager level
    Member of Financial Institutions and Reorganization Advisory Services Groups
    Responsible for managing engagements primarily involving financial institutions,
        troubled companies, and litigation support

 Deloitte & Touche, Dallas, Texas and Milwaukee, Wisconsin
    Auditing; attained Senior Manager level
    Responsible for managing and performing audits of banks, insurers, real estate
        developers, retailers, wholesalers, and manufacturers

 Honors, Grants, and Awards
 School of Accounting Executive Program Competitive Summer Research Grant (2007, 2009,
   2012)
 Innovations in Auditing Education, AAA Auditing Section (2011)
 Excellence in Graduate Mentoring Award, Florida Atlantic University (2011)
 College of Business Competitive Summer Research Grant (2010)
 College of Business Scholar of the Year (2010)
 Innovations in Accounting Education, American Accounting Association (2009)
 Nominated for COB Distinguished Teacher of the Year, Florida Atlantic University (2007)
 Participant in PwC University for Professors (2006)
 Wisconsin Alumni Research Fund competitive grant (2002, 2000)
 University of Wisconsin School of Business Research competitive grants (2001)
 Participant in Big 10+ Accounting Research Conference (2000-2002)
 Faculty representative to Big 10 Doctoral Consortium (2001-2002)
 Participant in D&T Trueblood Seminar (2001)
 Participant in 2000 AAA New Faculty Consortium
 Participant in 1998 AAA Doctoral Consortium


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 Curriculum Vitae of Mark Kohlbeck, PhD CPA (continued)

 Participant in 1998 Pac-Ten Doctoral Consortium
 Participant in 1997 FASB Doctoral Student Symposium
 Participant in 1997 Southwest Accounting Doctoral Consortium
 Bruton Fellowship (1996–1998)
 AICPA Doctoral Fellowship (1994–1997)
 University Fellowship, The University of Texas at Austin (1994-1996)
 Elijah Watt Sells Award (1982)

 Other
 Certified Public Accounting in the state of Wisconsin
 Member of American Accounting Association
    Financial Accounting and Reporting Section
    Auditing Section
    Teaching, Learning, and Curriculum Section




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